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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

                                                         — X

In re:
                                                                      Chapter 15

SYNCREON AUTOMOTIVE(UK)LTD.                                           Case No. 19-11702(BLS)
                                                          I
                  Debtor in a foreign proceeding.

                                                              X



               FINAL REPORT OF FOREIGN REPRESENTATIVE
       AND MOTION FOR ENTRY OF AN ORDER CLOSING CHAPTER 15 CASE


                   Carine Van Landschoot,the duly-authorized and recognized foreign representative

(the “Foreign Representative”)^ ofsyncreon Automotive(UK)Ltd.(the “Debtor” and,together

with syncreon Group Holdings B.V.(“OpCo”) and OpCo’s subsidiaries, including the Debtor,

the “Company”), in the above-captioned chapter 15 case (the “Chapter 15 Case”), respectfully

submits this (i) final report(the “Final Report”), pursuant to Rule 5009(c)ofthe Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 5009-2 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), and (ii) motion (the “Motion” and, together with the Final Report,

the “Final Report and Motion”) for entry of an order, pursuant to sections 350 and 1517(d) of




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    The identifying four digits of the Debtor’s U.S. federal tax identification number are 1748. The identifying four
    digits of the Debtor’s local U.K. tax identification number are 2112. The Debtor’s(UK) company registration
    number is 03012604. The location of the Debtor’s corporate headquarters and registered office is Unit 5 Logix
    Road, R D Park, Watling Street, Hinckley, Leicestershire, LEIO 3BQ, United Kingdom.

^   Capitalized terms used but not defined herein shall the meaning assigned to such terms in the Declaration ofCarine
    Van Landschoot in Support of Motion for Recognition of Foreign Main Proceeding and Requestfor Certain
    Related Relief\D.\. 4](the “Original Declaration”)and the Supplemental Declaration ofCarine Van Landschoot
    in Supportfor Recognition ofForeign Main Proceeding and Requestfor Certain Related Relief[D.I. 35](the
    “Supplemental Declaration” and, together with the Original Declaration, the “Van Landschoot Declarations”).




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title 11 of the United States Code (the “Bankruptcy Code”), closing the Chapter 15 Case. In

support of the Motion, the Foreign Representative respectfully represents as follows:

                                      JURISDICTION AND VENUE

          1.       The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order ofReference from the United States District Court for the

District of Delaware, dated February 29, 2012. The Foreign Representative properly commenced

this Chapter 15 Case pursuant to sections 1504 and 1509 of the Bankruptcy Code by the filing of

a petition for recognition of the English Proceeding (as defined below) under section 1515 of the

Bankruptcy Code.

         2.        This is a core proceeding pursuant to 28 U.S.C. § 157(b). Pursuant to Local Rule

9013-l(f), the Foreign Representative consents to the entry of a final order by the Court in

connection with this Motion to the extent it is later determined that the Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.


         3.         Venue is proper before the Court pursuant to 28 U.S.C. § 1410 as the Debtor has

assets in the United States located in Delaware, as described further in the Recognition Motion (as

defined below) and the Original Declaration.

                                             FINAL REPORT

                   4.         On July 30, 2019, the Foreign Representative commenced this Chapter 15

Case by petitioning the United States Bankruptcy Court for the District of Delaware (the “Courf’)

for recognition of a proceeding (the “English Proceeding”) pending before the High Court of

Justice of England and Wales (the “English Court”) concerning a scheme of aiTangement

(the “Scheme”) commenced pursuant to Part 26 of the Companies Act of 2006 (the “Companies

Acf’).



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                   5.         As discussed in more detail in the Van Landschoot Declarations, the

Foreign Representative commenced this Chapter 15 Case on behalf of the Debtor to ensure the

success of a comprehensive balance sheet restructuring of the Company involving approximately

$1.1 billion of funded debt (the “Restructuring”) to be effectuated through the Scheme and

recognition proceedings in the United States and Canada.

                   6.         The Foreign Representative’s activities in this Court included filing the

Motion for Recognition of Foreign Main Proceeding and Request for Certain Related Relief

[D.I. 3](the “Recognition Motion”), pursuant to which the Foreign Representative sought, among

other things, recognition of the English Proceeding, the Scheme, the English Orders, the Deed of

Release, and the Restructuring Implementation Deed, including enforcement of the Releases and

all discharges of debt contemplated by the foregoing.

                   7.         On July 10, 2019, the Debtor and the Dutch Borrower issued the Practice

Statement Letter to the Scheme Creditors. Among other things, the Practice Statement Letter

notified the Scheme Creditors of the Debtor’s intention to propose the Scheme and apply to the

English Court for permission to convene the Scheme Meetings, the class composition of the

Scheme Creditors under the Scheme, and the Debtor’s intention to commence this Chapter 15 Case

to obtain recognition of the Scheme (as a condition to the effectiveness of the Scheme).

                   8.         On July 22, 2019, each of the Debtor and the Dutch Borrower applied to the

English Court for permission to convene meetings of creditors for the purpose of considering and

approving the Scheme. The English Court considered that application at a hearing on July 25,

2019 and issued the Convening Order, which, among other things, ordered the convening of the

Scheme Meetings of the Scheme Creditors on September 3, 2019.




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         9.        In accordance with the Convening Order, the Debtor convened the Scheme

Meetings on September 3, 2019 at the offices of Weil, Gotshal & Manges (London) LLP, 110

Fetter Lane, London,EC4A 1 AY,United Kingdom, during which the Scheme Creditors approved

the Scheme by the requisite majorities.

          10.      On September 10, 2019, the English Court held a hearing to consider whether to

enter an order sanctioning the Scheme. At such hearing, the English Court found that all of the

requirements for sanctioning the Scheme had been satisfied. Accordingly, the English Court

sanctioned the Scheme. On September 11, 2019, the Debtor filed the Sanction Order at the

Companies House as required by the Sanction Order. Upon the filing of the Sanction Order with

the Companies House, the Scheme became effective.^

                    11.       On September 11,2019, this Court entered the Order Granting Recognition

of Foreign Main Proceeding and Certain Related Relief[Dl. 37] (the “Recognition Order”),

pursuant to which this Court, among other things,(i) granted recognition ofthe English Proceeding

as a “foreign main proceeding” pursuant to chapter 15 of the Bankruptcy Code; (ii) granted

recognition of the Foreign Representative as the “foreign representative.                          as defined in


section 101(24) of the Bankruptcy Code, in respect of the English Proceeding; (iii) recognized.

granted comity to, and gave full force and effect in the United States to the English Proceeding,

the Scheme Document, and the English Orders; and (iv) enjoined parties from taking any action

otherwise inconsistent with the Scheme and the related orders entered by the English Court.




^   The Foreign Representative respectfully refers the Court to the Van Landschoot Declarations for additional detail
    regarding the English Proceedings.




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                   12.        On or before October 1, 2019, all documents and agreements necessary to

implement the Restructuring contemplated by the Scheme were executed. On October 1, 2019,

the Restructuring Effective Date (as defined in the Scheme Document) occurred.

                                           RELIEF REQUESTED

                   13.        The Foreign Representative requests entry of the proposed order

substantially in the form attached hereto as Exhibit B (the “Proposed Order”) and further

requests that this Court retain jurisdiction to adjudicate any disputes that may arise as to the effect

in the United States of the Recognition Order, the English Proceeding, the Scheme, the English

Orders, the Deed of Release, and the Restructuring Implementation Deed.

                                    BASIS FOR RELIEF REQUESTED

                   14.        Section 1517(d) of the Bankruptcy Code provides that “[a] case under this

chapter may be closed in the manner prescribed under section 350.” IIU.S.C. § 1517(d). Pursuant

to section 350 of the Bankruptcy Code, a case may be closed “[ajfter an estate is fully

administered.        11 U.S.C. § 350(a). Elowever, a chapter 15 case has no “estate” per se. See In re

ABC Learning Centres Ltd., 728 F.3d 301, 312(3d Cir. 2013)(“[Ujnder Chapter 15 a court does

not create a separate bankruptcy estate.”). Thus, a chapter 15 case may be closed, “when the

purpose of the foreign representative’s appearance in court is completed.            Fed. Rule Bankr.


P. 5009(c).

                    15.       A chapter 15 case is deemed fully administered when the purpose for the

foreign representative’s appearance in court is complete. See Fed. R. Bankr. P. 5009(c). If no

objection to the final report is filed after 30 days’ notice, the case is presumed to have been fully

administered and may be closed. Local Rule 5009-2(b); Fed R. Bankr. P. 5009(c).

                    16.       As discussed above, the transactions contemplated by the Scheme have

been completed and the Restructuring has been effectuated. While a chapter 15 case does not


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create an estate under the Bankruptcy Code, the Foreign Representative submits that the

occurrence ofthese events means that the Debtor’s estate (or its functional equivalent to the extent

a similar concept exists under English law in respect of schemes of arrangement) has been fully

administered and that this Chapter 15 Case may be closed.

                                                  NOTICE


                   17.        In accordance with Bankruptcy Rule 5009(c), notice of the fding of this

Final Report and Motion, substantially in the form annexed hereto as Exhibit A (the “Notice of

Final Report and Motion”), will be served on the Notice Parties (as defined in the Scheduling

Motion [D.l. 4]). As a result of the occurrence of the Restructuring Effective Date and the

discharge of the Scheme Debt, it is no longer practicable to serve the Scheme Creditors through

Debtdomain or DTC. Accordingly, notice to the Scheme Creditors will be effected by the

Information Agent only through posting the Notice of Final Report and Motion to the website that

has been established in connection with the English Proceeding: https://www.lucid-

is.com/syncreon/. The Foreign Representative submits that,in view ofthe facts and circumstances.

such notice is adequate and sufficient and no other or further notice need be provided.

                                           NO PRIOR REQUEST

                    18.       No previous request for the relief sought herein has been made by the

Foreign Representative to this or any other court.




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                   WHEREFORE the Foreign Representative respectfully requests entry of the

Proposed Order granting the relief requested herein and such other and further relief as the Court

may deem just and appropriate.

Dated; December 6, 2019
       Wilmington, Delaware


                                       /s/ Timothy P. Cairns
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